AQ 72A
(Rev. 8/82)

 

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In the Gunited States District Court
Por the Southern District of Georgia

Waprross Dibision
SAMUEL PIERRE,
*
Petitioner, * CIVIL ACTION NO.: 5:20-cv-154
*
Vv. *
*
DANIEL GREENWALT,
*
Respondent. *

ORDER

After an independent and de novo review of the entire
record, the Court concurs with the Magistrate Judge’s Report and
Recommendation. Dkt. No. 7. Petitioner Samuel Pierre
(“Pierre”) did not file Objections to this Report and
Recommendation. In fact, this Court’s mailing was returned to
the Court as undeliverable, with the notations: “Return to
Sender: No Longer Here 2/16” and “Return to Sender, No Mail
Receptacle, Unable to Forward.” Dkt. No. 8, p. 1.

Accordingly, the Court ADOPTS the Magistrate Judge’s Report
and Recommendation as the opinion of the Court, DISMISSES
without prejudice Pierre’s 28 U.S.C. § 2241 Petition for failure

to follow this Court's Orders and Local Rules, GRANTS as

 
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(Rev. 8/82)

 

 

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unopposed Respondent's Motion to Dismiss, DIRECTS the Clerk of
Court to CLOSE this case and enter the appropriate judgment of
dismissal, and DENIES Pierre in forma pauperis status on appeal.

SO ORDERED, this 2. 6 of Rbhyrury ~» ORL.

 

HON. LISA GODBEY WOOD, JUDGE
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

 
